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After completing the Verdict Form, please sign your names in the spaces provided below and.fill
in the date and time. The foreperson should then give a note - NOT the Verdict Form itself
- to Ille Court Security Officer stating that you have reached a verdict.




Date and Time: :J./,d   /1{)2-'1 //.' b2-/tlv1




                                   COURT EXHIBIT 6
                                   JULY 10, 2024
                                   11:35 A.M.




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